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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA


DSSC a/k/a DEMOCRATIC                       )
SENATORIAL CAMPAIGN                         )
COMMITTEE; and BILL NELSON FOR              )
U.S. SENATE,                                )
                                            )
                     Plaintiffs,            )   Case No. 4:18-cv-526-MW-MJF
                                            )
             v.                             )
                                            )
KENNETH W. DETZNER, in his official )
capacity as the Florida Secretary of State, )
                                            )
                     Defendant,             )
                                            )
              and                           )
                                            )
NATIONAL REPUBLICAN                         )
SENATORIAL COMMITTEE,                       )
                                            )
                    Intervenor-Defendant. )
__________________________________ )




INTERVENOR’S RESPONSE TO PLAINTIFFS’ EMERGENCY MOTION
FOR TEMPORARY RESTRAINING ORDER, ORDER TO SHOW CAUSE,
              AND PRELIMINARY INJUNCTION
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                               INTRODUCTION

      Plaintiffs ask this Court to enter an extraordinary emergency injunction

abrogating two longstanding, politically neutral, and generally applicable

regulations that provide election officials clear and objective guidance in

conducting manual recounts. Florida implemented these regulations because Bush

v. Gore, 531 U.S. 98 (2000), held both that a vague and subjective “intent of the

voter” standard—essentially what Plaintiffs seek to impose here—would be

unconstitutional, and that the Equal Protection Clause affirmatively requires

regulations like those challenged here in order to provide clear and objective

guidance to election officials during manual recounts. Plaintiffs now attempt to

discard that constitutional regulatory scheme and replace it with a vague,

standardless regime that would actually create an equal protection violation. Worse

still, on the eve of a manual recount, Plaintiffs ask this Court to throw out a

carefully-planned system adopted pursuant to the state’s Administrative Procedure

Act that has been designed to ensure order in precisely this circumstance, and to

enter an injunction that is sure to inject massive chaos and confusion into the

manual recount process across the State.

      Election recounts are highly-charged events, and Florida’s regulations are an

eminently reasonable, sensible, and indeed constitutionally required method for

preserving public confidence in the integrity and impartiality of voter recounts.



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Indeed, Florida’s regulations have already been upheld as necessary to comply

with the Constitution and remedy the equal protection problem found in Bush v.

Gore. Wexler v. Lepore, 342 F. Supp. 2d 1097, 1108 (S.D. Fla. 2004). These

regulations, including but not limited to the two rules challenged here, provide

clear and objective guidance to election officials, eliminating chaotic and

demoralizing public fights over whether a chad is sufficiently dimpled, a circle is

sufficiently filled, or a mark is actually a vote or just a stray mark. And these

regulations have guided officials’ discretion for 18 years, during which Florida has

held 15 manual recounts—none of which led to any reported challenge to any of

these     regulations.   See   Election   Results,   Fla.   Div.    of    Elections,

https://bit.ly/2RRv9F6 (drop-down menu shows election results).

        Everyone agrees that votes should be counted, but Plaintiffs’ effort to

abrogate the well-established standards for counting votes and create a standardless

free-for-all at election offices across the State, all in the hopes of sliding more

votes into their column, ignores the “lesson of Bush v. Gore [ ] that there are

countervailing concerns, such as having clear rules in advance and avoiding having

courts decide the outcome of elections.” Rick Hasen, After Lessons of Bush v.

Gore, Do Bill Nelson’s Lawsuits Go Too Far in Trying to Change Florida Election

Law?, ELECTION LAW BLOG (Nov. 13, 2018), https://goo.gl/Ws6mno. Plaintiffs’

last-minute effort to use the federal courts to invalidate longstanding and neutral



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State regulations, and to restore a subjective and manipulable voting standard, not

only violates the Constitution but undermines all the compelling interests that

Florida’s regulations so effectively serve, particularly the public’s faith in the

integrity of the recount process.

      Plaintiffs should not get to change the rules just because the clock is ticking

down and they are behind on the scoreboard. The Court should deny the motion for

a temporary restraining order and a preliminary injunction.

                            STATEMENT OF FACTS

      A.     Florida’s Current Regulations Were Enacted To Cure the
             Constitutional Defect Found in Bush v. Gore.

      The Florida recount in the 2000 presidential election was a debacle that still

undermines the public’s faith in the integrity of recount processes. “Chads,” the

paper fragments created by punch ballots, became infamous. The national news

highlighted images of election officials, eyes enlarged in magnifying glasses,

struggling to distinguish between hanging chads, swinging chads, and dimpled

chads. The Supreme Court eventually held that the process was unconstitutional.

Bush v. Gore, supra. Over a decade later, people still debate who won. See, e.g.,

Wade Payson-Denney, So, Who Really Won? What the Bush v. Gore Studies

Showed, CNN (Oct. 31, 2015), https://goo.gl/mSx8y3.

      The problem, as both a practical and a constitutional matter, was that

Florida’s vote counters lacked any uniform standards for deciphering ambiguous

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ballots. Florida law told manual recounters merely to “determine the voter’s

intent.” FLA. STAT. § 102.166(7)(b) (1999). That left canvassing boards in

Florida’s 67 counties free to adopt—in their unfettered discretion—different

standards for interpreting ballot markings. See Bush, 531 U.S. at 106 (“the

standards for accepting or rejecting contested ballots might vary not only from

county to county but indeed within a single county from one recount team to

another”).

      The Supreme Court held that Florida’s lack of “uniform rules” violated the

Equal Protection Clause. Bush, 531 U.S. at 106. Since Florida’s vague “intent”

standard had not been—and could never be—consistently applied, voters did not

have an equal opportunity to have their vote counted. Uniform rules that left little

or no room for canvassing board discretion, the Supreme Court said, were not only

“practicable” but also “necessary.” Id.

      “In response to the election problems of 2000, the Florida legislature revised

Florida’s election laws in 2001,” in an effort to bring them into compliance with

the Supreme Court’s ruling. Wexler, 342 F. Supp. 2d at 1107. The Florida State

Senate Ethics and Elections Committee led the review and published

recommendations. Among those recommendations were that “[t]he Division of

Elections should be required to adopt rules containing specific, uniform recount

substandards and procedures for each voting system in use in the State.” FLA.



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SENATE COMM. ON ETHICS & ELECTIONS, Review of the Voting Irregularities of the

2000 Presidential Election at 7 (2001) (emphasis added), https://goo.gl/AiPZB6.

      The result was the Election Reform Act of 2001. The Senate committee

report on that legislation emphasized that, to “address the equal protection

concerns identified by the United States Supreme Court, the Act requires the same

manner of recount to be conducted in each affected jurisdiction.” FLA. SENATE

COMM. ON ETHICS & ELECTIONS, REPORT ON CS/SB 1118 at 143 (2001) (emphasis

added), https://goo.gl/is9oSC.

      When signing the bill into law, Governor Jeb Bush explicitly acknowledged

the legislature’s efforts to satisfy the Equal Protection Clause: “We have

eliminated the confusion [t]hanks to the good work of the Florida legislature. And

we have a single standard th[at] will be used for the manual recounts.” Statement

of Governor Jeb Bush, Florida Election Reform Bill Signing, C-SPAN (May 9,

2001), https://cs.pn/2OIaJfV.

      B.     Florida’s Current Regulations Successfully Cure the Federal
             Constitutional Defect Found in Bush v. Gore.

      Florida’s current regulations are night-and-day from the standardless,

discretion-ridden regime that Bush v. Gore held violated the Equal Protection

Clause. To begin with, the Act eliminates discretion from county election officials

in determining whether to conduct a recount at all. If a race is within 0.5% after the

ballots are initially counted, the Act mandates a “machine recount” in all counties.

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FLA. STAT. § 102.141(7). Ballots must be fed again through automatic tabulation

machines, which must be set to sort out any ballots with “undervotes” (where the

voter appears not to have selected a name in the race being recounted) and with

“overvotes” (where the voter appears to have selected too many names).

      If the race is within 0.25% after the machine recount, the Act mandates a

“manual recount” in all counties impacted by the race. FLA. STAT. § 102.166(1).

That manual recount examines only to the under- and overvotes sorted out of the

machine recount, and is initially conducted by “counting teams” composed of at

least two electors in each county. Id. § 102.166(5)(a). If the counting team cannot

determine whether a particular ballot contains a valid vote, the canvassing board

itself must review the ballot. Id. § 102.166(5)(c). In either case, the manual

recounters must determine whether “there is a clear indication on the ballot that

the voter has made a definite choice.” Id. § 102.166(4)(a) (emphases added). All of

this is conducted within the view of observers from each of the impacted

candidates who also have an ability to raise objections. FLA. ADMIN. CODE ANN. r.

1S-2.031(3)(d).

      The Act also requires the Secretary of State to promulgate guides and limits

upon election officials’ inquiry into whether a citizen made a definite choice for a

candidate. The Act directs the Department of State to “adopt specific

rules … prescribing what constitutes a ‘clear indication on the ballot that the voter



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has made a definite choice.’ ” Id. § 102.166(4)(b) (emphasis added). The rules may

not simply “provide that the voter must properly mark or designate his or her

choice on the ballot,” nor may they “[c]ontain a catch-all provision that fails to

identify specific standards, such as ‘any other mark or indication clearly indicating

that the voter has made a definite choice.’ ” Id. § 102.166(4)(b)(1)-(2). Under the

Act, therefore, the regulations may not permit canvassing boards, in their

discretion, to determine how ballots will be read. Rather, the rules must be specific

enough to be uniformly applied, just as the Supreme Court ordered. Bush, 531 U.S.

at 106.

      In accordance with these directives, the Secretary promulgated FLA. ADMIN.

CODE r. 1S-2.027, which establishes specific, politically neutral, generally

applicable, and interrelated rules for determining voters’ choices in a manual

recount. Rule 1S-2.027 represents an extraordinary effort by Florida to count, to

the greatest extent possible, bona fide votes that nevertheless do not comply with a

ballot’s instructions for how to cast a vote. The Rule carefully balances the State’s

interest in counting all lawful votes with its corresponding interest in counting only

lawful votes, and thus not improperly counting as a vote what was in fact only a

stray marking. As relevant here, Rule 1S-2.027 imposes two general requirements.

      First, Rule 1S-2.027 requires consistency. If the voter selected candidates in

more than one race, his vote in the recounted race is valid only if he indicated his



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choice with the same marking that he used for the other races—such as circling the

candidate’s name. Rule 1S-2.027(4)(b). (If the voter did not vote in any other race,

then for his vote in the recounted race to be counted, he must simply have cast it

with one of the many approved markings described in the Rule’s second general

requirement.)

      Demonstrating Rule 1S-2.027’s careful attention to maximizing the counting

of lawful votes, the Consistency Rule has exceptions for situations where a voter

uses an inconsistent mark to clarify his choice (e.g., where he blackens all ovals

but circles one name), where he blackens most but not all of an oval, and where he

blackens multiple ovals but uses words (e.g., “not this” or “wrong”) to clarify his

choice. See id. r. 1S-2.027(4)(c)(7), (10), (15). Thus, in multiple ways, voters can

overcome the Consistency Rule with indicia of their intent; after all, voter intent is

still the ultimate question. But that indicia must be objectively clear; otherwise,

Florida recounts would devolve back to the unconstitutional circumstances

condemned in Bush where, for example, reviewers in Collier County might treat an

identical ballot differently than reviewers in Leon County.

      Second, Rule 1S-2.027 requires that a voter indicate his choice with an

approved marking, and it outlines numerous scenarios delineating approved and

non-approved markings. See id. r. 1S-2.027(4)(c)(1)-(15). These provisions set

forth objective, clear, and reasonable standards for resolving ambiguous cases



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consistently and uniformly across multiple voting jurisdictions. For example,

where a marking crosses the ovals beside two candidates, and thus could imply a

vote for either, under the Rule it constitutes a vote for neither. Id. r. 1S-

2.027(4)(c)(4). These carefully crafted, interrelated rules guard against recount

chaos, by requiring canvassers across Florida to interpret markings the same way

across the State.

      At the same time, the regulations are also remarkably voter friendly. Florida

regulators have painstakingly described—and provided comprehensive images

of—the many types of markings that can constitute valid votes, from mere dots, to

circles, underlines, check marks, and more. See generally id. r. 1S-2.027(4)(c).

Among the voter’s options is the one that Plaintiffs challenge, namely the option to

indicate a choice with simple, clear language like “not this.” See id. r. 1S-

2.027(4)(c)(15).

      These interrelated requirements work in tandem to ensure that manual

recounters will count as many ballots as possible while doing so in a uniform

fashion across the State. One must keep in mind that the Rule applies only where a

voter has “not marked” his choice in the recounted race “as specified in the ballot

instructions” and thus has created initial uncertainty as to that choice. Id. r. 1S-

2.027(4)(a) (emphasis added). Florida does not disregard those votes entirely; on

the contrary, any number of different markings can constitute a vote. But this



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permissiveness in turn requires the Consistency Rule. For if a voter uses a medley

of markings—some that might comply with ballot instructions, some that might

not—a canvasser has no way to determine definitively what any given marking

means.

      The “rules promulgated pursuant to the amended statutes” have already been

held to “comply with the requirements established by Bush v. Gore.” Wexler, 342

F. Supp. 2d at 1108. The regulations provide neutral, a priori standards for

interpreting ambiguous ballots in manual recounts. More importantly, they bind

those conducting a recount, replacing the unequal and unconstitutional treatment

that led to Bush v. Gore with the uniform rules that the Supreme Court mandated.

      C.    After the Florida Senate Race and Others Across the State Enter
            a Recount, Plaintiffs File This Lawsuit Challenging Longstanding,
            Generally Applicable, and Politically Neutral Regulations.

      Florida Governor Rick Scott currently leads incumbent U.S. Senator Bill

Nelson in the race for Florida’s Senate seat. The race entered a machine recount

because Governor Scott led Senator Nelson by less than 0.5 percentage points.

Complaint ¶¶ 17-19. In addition, the Governor’s race and Agriculture

Commissioner’s race, along with at least three state legislative races, also were

ordered to machine recounts. If the lead in any of these races is less than 0.25

percentage points at the conclusion of the machine recount by the 3pm Thursday




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deadline, a manual recount will be ordered for “undervotes” and “overvotes” that

were set aside by the machines and not tabulated during the machine recount.

      On November 13, 2018, Plaintiffs filed this lawsuit. Contemporaneously

with the filing of their complaint, Plaintiffs requested an order providing that, in

the event the race goes into a hand recount, election officials are enjoined from

determining voter intent consistent with two rules—the Consistency Rule and

Clear Statement Rule—that form an integral part of Florida’s carefully considered

and interrelated rules for uniformly determining voter intent across multiple voting

jurisdictions, and in this case across multiple recounts stemming from the same

election. Plaintiffs wish to replace these clear, administrable, and neutral rules with

a standardless regime that requires election officials to divine, guided by little more

than their own discretion and predilections, the intent of the voter.

                               LEGAL STANDARD

      To obtain a temporary restraining order or preliminary injunction, the

movant must demonstrate that (1) “there is a substantial likelihood of success on

the merits,” (2) “the TRO or preliminary injunction is necessary to prevent

irreparable injury,” (3) “the threatened injury outweighs the harm that the TRO or

preliminary injunction would cause to the non-movant,” and (4) “the TRO or

preliminary injunction would not be averse to the public interest.” Parker v. State

Bd. of Pardons and Paroles, 275 F.3d 1032, 1034-35 (11th Cir. 2001).



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      To the extent Plaintiffs seek a temporary restraining order, they are not

entitled to this relief because they failed to comply with the notice and affidavit

requirements of FED. R. CIV. P. 65(b). Accordingly, Plaintiffs’ motion should be

construed only as a request for a preliminary injunction.

                                   ARGUMENT

      Plaintiffs bear a particularly high burden in this case for two reasons. First,

we deal here with a State’s constitutionally delegated power to determine “[t]he

Times,   Places    and   Manner     of   holding    Elections   for   Senators    and

Representatives ….” U.S. CONST. art. I, § 4. Thus, States are “primarily

responsible for regulating their own elections,” Thompson v. Woodall, 819 F.2d

1052, 1053 (11th Cir. 1987) (quotation marks omitted), and the Supreme Court has

recognized that the administration of a recount “is within the ambit of the broad

powers delegated to the States by Art. I, § 4,” Roudebush v. Hartke, 405 U.S. 15,

25 (1972). Accordingly, “[o]nly in extraordinary circumstances will a challenge to

a state election rise to the level of a constitutional deprivation.” Curry v. Baker,

802 F.2d 1302, 1314 (11th Cir. 1986).

      Second, Plaintiffs bear a particularly “heavy burden of persuasion” because

they do not challenge the regulations as-applied but rather “have advanced a broad

attack on the constitutionality of” a state law, “seeking relief that would invalidate

[it] in all its applications ….” Crawford v. Marion Cty. Election Bd., 553 U.S. 181,



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200 (2008). “A facial challenge must fail where the statute has a plainly legitimate

sweep.” Id. at 202 (quotation marks omitted).

      We first explain why the challenged regulations do not violate the Equal

Protection Clause. Then we rebut Plaintiffs’ hybrid First Amendment/Fourteenth

Amendment claim. Finally, we explain why the remaining preliminary injunction

factors weigh strongly in favor of denying Plaintiffs’ motion.

I.    THE CHALLENGED REGULATIONS DO NOT VIOLATE THE
      EQUAL PROTECTION CLAUSE.

      A.     Plaintiffs Seek To Replace Florida’s Clear Recount Rules with the
             Subjective, Vague Standards Invalidated in Bush v. Gore.

      Florida’s generally applicable, politically neutral, eminently reasonable

recount regulations were implemented specifically to remedy and prevent the equal

protection violation that the Supreme Court found in Bush v. Gore. Plaintiffs ask

this Court to discard that constitutional regulatory scheme and replace it with a

vague, standardless regime that would actually create an equal protection

violation.

      1.     In Bush, the Supreme Court held that the Florida Supreme Court’s

order that election officials conduct a manual recount simply by seeking the “intent

of the voter,” without providing specific, neutral, and objective rules for doing so,

did “not satisfy the minimum requirement for nonarbitrary treatment of

voters necessary to secure the fundamental right.” 531 U.S. at 105. The Court



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explained that the general command to consider the “intent of the voter” lacked the

necessary “specific standards to ensure its equal application. The formulation of

uniform rules to determine intent based on these recurring circumstances is

practicable and, we conclude, necessary.” Id. at 106. Thus, the equal protection

violations that the Court found included “three members of [a] county canvassing

board appl[ying] different standards in defining a legal vote,” id., which resulted in

a standardless recount procedure that was “not well calculated to sustain the

confidence that all citizens must have in the outcome of elections,” id. at 109.

       Dissenting Justices Breyer and Souter agreed with the majority on this

essential point. Justice Breyer indicated his agreement with the majority’s rule that

“the Equal Protection Clause requires that a manual recount be governed not only

by the uniform general standard of the ‘clear intent of the voter,’ but also by

uniform subsidiary standards (for example, a uniform determination whether

indented, but not perforated, ‘undervotes’ should count).” Id. at 145 (Breyer, J.,

dissenting). Justice Souter likewise agreed that Florida’s recount procedure

violated the Equal Protection Clause, and he even specifically highlighted as

violating equal protection principles a county’s method of “determining voters’

intent” without “provid[ing] a precise, uniform standard” for ascertaining that

intent. Id. at 134 (Souter, J., dissenting).




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      As explained in the Statement of Facts, “[i]n response to the election

problems of 2000, the Florida legislature revised Florida's election laws in 2001.”

Wexler, 342 F. Supp. 2d at 1107. “Most importantly,” the statutory amendments

“added language directing the Department of State to adopt specific rules for each

certified voting system, prescribing what constitutes a voter’s definite choice.” Id.

at 1108. And to further minimize the risk that the discretionary judgments of

different canvassing boards would lead to conflicting vote counts of materially

indistinguishable ballots, the Florida Legislature took especial care to prohibit the

Secretary from promulgating “a catch-all provision that fails to identify specific

standards, such as ‘any other mark or indication clearly indicating that the voter

has made a definite choice.’ ” FLA. STAT. ANN. § 102.166(4)(b)(2).

      Florida then promulgated the comprehensive regulatory scheme pursuant to

the Florida Administrative Procedure Act that is challenged here to provide

election officials clear and objective guidance in how to count ambiguous votes

during recounts. These rules provide in great detail the “uniform rules to determine

intent” that the Supreme Court held are required by the Equal Protection Clause.

Bush, 531 U.S. at 106. The rules have already been held to “comply with the

requirements established by Bush v. Gore” because they “prescribe[ ] uniform,

nondifferential standards for what constitutes a legal vote under each certified

voting system, and have established procedures for conducting a manual recount of



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overvotes and undervotes in the entire geographic jurisdiction.” Wexler, 342 F.

Supp. 2d at 1108.

      Gone is the standardless, subjective inquiry into voter intent that marred the

2000 election and violated the Constitution. That old regime has been replaced

with a system that has defined—ex ante, long before the election, in clear,

generally applicable, and politically neutral rules available to the voting public

literally years prior to this Election Day—precisely how election officials should

determine whether marks, underlines, asterisks, are in fact votes and not simply

stray marks, underlines, or asterisks. The urgent need for these clear rules is

brought into particularly sharp relief when we recall that we deal here not with

clear ballots that comply with ballot instructions but rather with noncompliant

ballots that were “not marked as specified in the ballot instructions ….” Rule 1S-

2.027(4)(a).

      Plaintiffs seek a return to the very standardless recount method that violated

both the Constitution and common sense. Although Bush squarely held that a

vague “intent of the voter” standard violates the Fourteenth Amendment, Plaintiffs

ask this Court to abrogate Florida’s specific regulations; override Florida’s

statutory prohibition against unguided, discretionary canvasser inquiry into voter

intent; and enter instead a new standard, essentially identical to the one outlawed in

Bush, that requires election officials to inquire simply and only into what a voter



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supposedly “clearly indicated.” Proposed Injunction ¶ 4. And they seek the

extraordinary relief of a federal court injunction directed at State officials on the

eve of a highly-charged recount, when such an injunction would have the

inevitable effect of introducing massive confusion and chaos into the recount

process.

      2.     Moreover, changing the rules midstream to count votes that were

invalid under the clear pre-existing rules would dilute the votes of—and thus

partially disenfranchise—those whose votes were valid under the pre-existing

rules. “It must be remembered that ‘the right of suffrage can be denied by a

debasement or dilution of the weight of a citizen’s vote just as effectively as by

wholly prohibiting the free exercise of the franchise.’ ” Bush, 531 U.S. at 105

(quoting Reynolds v. Sims, 377 U.S. 533, 555 (1964)). The Eleventh Circuit has

already held that changing the vote-counting rules after the election has taken place

and thus “counting ballots that were not previously counted would dilute the votes

of those voters who met the [voting] requirements … as well as those voters who

went to the polls on election day.” Roe v. Alabama, 43 F.3d 574, 581 (11th Cir.

1995); see also Roe v. Alabama, 68 F.3d 404, 408 (11th Cir. 1995) (same case

upholding district court injunction against post-election change in vote counting

rules); Rossello-Gonzalez v. Calderon-Serra, 398 F.3d 1, 16 n.29 (1st Cir. 2004).

Thus, Plaintiffs seek relief that would be an equal protection violation twice over,



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for not only would they sap the recount process of guided uniform standards, thus

ensuring differential voting results from materially identical ballots, but they would

dilute the vote of those who voted consistent with Florida’s long-established and

plainly lawful voting standards.

      3.     Notably, Plaintiffs are unable to cite a single case finding an equal

protection violation in circumstances remotely similar to this one. They derive

their Equal Protection standard principally from Bush v. Gore, which as discussed

forecloses their claim, and Obama for America v. Husted, 697 F.3d 423, 427 (6th

Cir. 2012), which involved a classification that allowed military voters a longer

time to cast in-person early voting. See Plaintiffs’ Motion 11.

      This case, unlike Husted, does not involve a classification affording greater

voting access to one class of citizens over another. Rather, we deal with citizens

who have actually cast ballots, with the allegedly invidious classification simply

being the State’s facially and politically neutral rules for determining which ballots

do, and which do not, clearly indicate the voter’s definite choice. This is not an

invidious or unconstitutional classification; rather it is a perfectly sensible and

constitutionally required classification inherent in any voting system. “Common

sense, as well as constitutional law, compels the conclusion that government must

play an active role in structuring elections; ‘as a practical matter, there must be a

substantial regulation of elections if they are to be fair and honest and if some sort



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of order, rather than chaos, is to accompany the democratic processes.’ ” Burdick v.

Takushi, 504 U.S. 428, 433 (1992) (quoting Storer v. Brown, 415 U.S. 724, 730

(1974)). The Constitution does not forbid Florida from drawing the sensible lines

that it did in defining ex ante those characteristics that do and do not express a

clear intent to vote for a particular candidate.

      B.      The Challenged Rules Provide Eminently Reasonable Standards
              for Identifying Overvotes and Undervotes.

      Although the Court need go no further in turning back Plaintiffs’ challenge,

Plaintiffs are additionally wrong in arguing that the challenged rules “are plainly

inappropriate under any reasonable review under the Equal Protection Clause.”

Plaintiffs’ Motion 14, 20. To the contrary, the regulations are eminently reasonable

classifications designed to ensure the consistent counting of votes and to avoid the

prospect, damaging to both constitutional and civic norms, of vague, subjective,

and standardless recounts occurring throughout the State in an election of great

importance.

      Again, Florida law provides that a vote shall be counted only “if there is a

clear indication on the ballot that the voter has made a definite choice.” FLA. STAT.

§ 102.166(4)(a) (emphasis added). To make such a “clear indication” of a “definite

choice,” id., voters generally must “mark[ ] the ballot as specified in the ballot

instructions.” Rule 1S-2.027(3)(a). However, Florida law goes to extraordinary

lengths in manual mandatory recounts to ensure that a voter’s “clear indication [of]

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a definite choice” is ascertained and recorded, even where the voter did not follow

instructions and did “not mark[ ] [the ballot] as specified in the ballot instructions,”

id. r. 1S-2.027(4)(a).

      This case is about how to ascertain voter intent in the small percentage of

ballots where the voter failed to comply with the ballot instructions and clearly

mark her vote. Plaintiffs do not challenge the great majority of the State’s

interrelated regulatory rules, but they do challenge two: the Consistency Rule of

subsection (4)(b), and the Clear Statement Rule of subsection (4)(c)(7).

      Together, the Consistency Rule and the Clear Statement Rule serve

numerous functions. They safeguard the integrity of elections, and Florida

“indisputably has a compelling interest in preserving the integrity of its election

process.” Eu v. San Francisco Cty. Democratic Cent. Comm., 489 U.S. 214, 231

(1989). The challenged rules minimize actual or perceived partisan influence

during the highly charged manual recount process, by resolving ex ante how

election officials in 67 counties will interpret the intent of voters who have, by

definition, not followed the ballot instructions for casting their votes. This State

interest is of constitutional dimension, for the State may not permit its election

officials to exercise unfettered discretion in resolving the ambiguity inherent in

whether a chad is sufficiently dimpled or whether an x “marks the spot” or “crosses

out a vote.” See Bush, 531 U.S. at 106.



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      The regulations also minimize human error by taking as much on-the-spot

judgment out of the process as possible, and replacing it with a series of clear,

objective, and easily administrable rules of the road. Each of these interests is

undoubtedly a compelling governmental interest. See, e.g., Timmons v. Twin Cities

Area New Party, 520 U.S. 351, 358 (1997) (“States may, and inevitably must,

enact reasonable regulations of parties, elections, and ballots to reduce election-

and campaign-related disorder”); Storer, 415 U.S. at 730.

      Here is further elaboration about how these rules further these interests:

      The Consistency Rule. The Consistency Rule provides that, when a voter

has “not marked [her ballot] as specified in the ballot instructions,” canvassers

must determine whether the “voter’s markings … [provide] a clear indication that

the voter has made a definite choice in a contest” by considering whether the voter

“marked [other contests] in the same manner” as the recounted contest, subject to

three exceptions discussed below. Rule 1S-2.027(4)(a), (b).

      The Consistency Rule must be understood in light of Florida’s extraordinary

effort to ascertain whether improperly marked ballots nevertheless contain bona

fide votes. In particular, the rule must be read in light of the sheer breadth of

markings that may be counted as votes notwithstanding their noncompliance with

ballot instructions. For example, so long as a voter consistently marks a ballot, a

voter may be counted as voting for a candidate where she simply underlines the



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oval or arrow next to a candidate’s name, id. § 4(c)(1), underlines a candidate’s

party affiliation, id. § 4(c)(3), marks a “check mark, a cross, a plus sign, an asterisk

or a star, any portion of which is contained in a single oval or within the blank

space between the head and tail of a single arrow,” id. § 4(c)(4), “draws a diagonal,

horizontal, or vertical line, any portion of which intersects two points on the oval

and which does not intersect another oval at any two points,” id. § 4(c)(5), or

“draws a diagonal or vertical line that intersects an imaginary line extending from

the center of the head of a single arrow to the center of the tail of the same arrow,

provided the diagonal or vertical line does not intersect the imaginary line joining

the head and tail of another arrow,” id. § 4(c)(6), among many other marks that

might count as a vote, see generally id. § 4(c)(7)-(15). The regulations contain

numerous illustrations of the many markings that, depending on the circumstances,

may qualify as bona fide votes, including the following:




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      Because subsection 4(c) allows a variety of marks to count as votes, the

Consistency Rule of subsection 4(b) provides a very reasonable interpretive guide

to ensure that the marks are actually votes and not, in fact, simply stray marks. The

Consistency Rule recognizes that if a voter does not follow the ballot instructions

and consistently marks, say, a “plus sign” next to a candidate’s name rather than

filling in the oval, it is reasonable to conclude that the plus signs that populate the

ballot are in fact votes. But the Consistency Rule also recognizes that where a

candidate has voted properly in some races—e.g., by properly filling in the oval

next to a name for Governor, Representative, and so on—a line next to Jack

Benny’s name, as in the sample Attorney General ballot above, is more likely a

stray mark rather than a vote, since the voter demonstrated a clear understanding of

how to properly vote with respect to other elections. The Secretary’s rules are

clearly reasonable rules that were not challenged by any party when promulgated

under Florida’s Administrative Procedure Act.


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      Plaintiffs, by contrast, want such a vertical line or plus sign on a Senate

ballot to be counted as a vote even though the voter plainly demonstrated an

understanding of how to properly vote and did not cast a proper vote for a Senate

candidate. Plaintiffs’ proposed rule is not a rational interpretation of voter

behavior, much less a standard required by the United States Constitution.

      In short, Plaintiffs ask the Court to require canvassers to focus myopically

on the markings made on the Senate race, blinding themselves to the context

provided by the remainder of the ballot. But whenever the law seeks to discern

intent from a legal document—whether it be a statute, a regulation, a contract, or a

ballot—it always considers the context provided by the document as a whole. See,

e.g., Robinson v. Shell Oil Co., 519 U.S. 337, 341 (1997) (statutory construction);

Garcia Granados Quinones v. Swiss Bank Corp. (Overseas), S.A., 509 So.2d 273,

275 (Fla. 1987) (Florida contract law). At a bare minimum, Florida’s neutral

judgment that canvassers must consider the complete context of the entire ballot in

ascertaining whether the voter has clearly indicated a definite choice to vote for a

particular candidate (despite failing to follow the simple instructions on how to do

so) was reasonable. Accordingly, this Court must defer to that judgment.

      Plaintiffs believe the Consistency Rule will be underinclusive in particular

cases, but that will virtually always be the case whenever there are rules to guide

and cabin officials’ judgments. Rules designed to consistently and uniformly



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resolve ambiguity in the evidence of voter intent, as required by Bush, will

inevitably have false positives and false negatives—and this is true even of

Florida’s carefully considered rules. Notably, Florida’s regulations are particularly

tailored to minimize under-inclusivity because they specifically exempt three

circumstances from the Consistency Rule, where a voter’s intent with respect to

one election may be sufficiently clear notwithstanding that the voter’s mark is

inconsistent with how she marked her vote for other elections. Id. § 4(c)(7), (10),

(15). One of these three exceptions is the very Clear Statement Rule that Plaintiffs

also challenge.

      In these ways, the Consistency Rule furthers the State’s compelling interest

in minimizing the risk that materially identical ballots will be counted differently

by different canvassing boards. Consider the hypothetical that Plaintiffs present as

their strongest case: “Example A” on page 13 of Plaintiffs’ Motion:




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The voter in that example has demonstrated a clear understanding that she must

vote by filling in the oval next to her preferred candidate’s name. In these facially

ambiguous circumstances, it is entirely reasonable to resolve the ambiguity by

concluding that an unmarked oval combined with the circle does not provide “a

clear indication” that the voter “made a definite choice” in favor of Candidate B.

First, in light of the correctly marked oval for Candidate Y for Governor, there is

very little ambiguity in the voter’s failure to mark an oval next to a candidate for

Senator: the voter did not clearly indicate a definite choice for Senator, even as the

voter clearly did indicate a definite choice for Governor. And the circle around

Candidate B for Senator in this context is inherently ambiguous. Perhaps the voter

circled Candidate B intending to return to the Senate race after completing the



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remainder of her ballot and never did so. Perhaps she did return to that race,

thought further, and ultimately decided not to vote in that race. Whatever was

meant by the circle, there is good reason to question whether it was a “definite

choice” because the vote for Candidate Y clearly establishes that the voter

understood the instructions on how one signifies a vote. Her failure to follow those

instructions in the Senate race makes it impossible to conclude that she clearly

indicated “a definite choice.”

      The Clear Statement Rule. The Clear Statement Rule is likewise one of the

interrelated rules that Florida has adopted to guide and control canvassing boards

during highly charged manual recounts. Plaintiffs see an equal protection violation

allegedly because “voters whose ballots contain an identical, clear indication of

their choice in the U.S. Senate race will be treated differently solely based upon

whether they also wrote one or more ‘magic words’ on the ballot.” Plaintiffs’

Motion 19. But voters who clearly indicate a definite choice with words, as

permitted by the regulation, are not at all comparable—they are not similarly

situated to those who do not follow these guidelines and fail to provide sufficiently

clear and definite intent.

      Once again, Plaintiffs’ own lead hypotheticals demonstrate the fatal

weakness in their position. Plaintiffs claim to see a clear intent to vote for

Candidate A in Example D at page 19 of their brief, where the ovals for both



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Candidate A and Candidate B are filled in, but there is an x over the name for

Candidate A. Here is that example:




      It is not at all clear that the x denotes “a clear indication … that the voter has

made a definite choice” not to vote for Candidate A. Following the familiar adage

that “x marks the spot,” it is also plausible to believe that a voter would have

marked the x to denote their preference for Candidate A. Any argument that

including an additional mark like an x cannot plausibly be read as voting for

Candidate A is rebutted by certain regulations that Plaintiffs do not even challenge.

One of the State’s regulations states that where a “voter marks all the choices for a

race but further clarifies a choice for a particular candidate … by placing an

additional mark or marks showing support solely for that particular candidate,”

the additional mark should denote support for that candidate. Rule 1S-

2.027(4)(c)(7) (emphasis added). Similarly, “mark[ing] an ‘X’ … in a single oval”



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denotes a valid vote. Id. r. 1S-2.0274(c)(4). So the voter may have believed that

marking Candidate A with an x essentially supplanted her filling in of both ovals.

Notably, Plaintiffs do not challenge these regulations, even though they directly

contradict their argument.

      Other regulations that Plaintiffs do not challenge further expose the serious

weaknesses of their equal protection claim. Consider, for example, subsection

(4)(c)(6), which provides that a line that intersects two separate arrows to the right

of candidates’ names does not count as a vote, even if the line predominantly

intersects one name over another. Consider this visual accompaniment to

subsection (4)(c)(6):




Because the line is primarily next to Jack Benny rather than Lucille Ball, some

election officials may well interpret this ambiguous ballot as casting a vote for

Benny—especially if they have a conscious or subconscious bias in favor of Benny

or against Ball. By excluding these ambiguous votes—votes on which there is no



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“clear indication” of a “definite choice”—from consideration as votes, the

regulations are meant to avoid precisely these sorts of county-by-county, ballot-by-

ballot discretionary judgments, that inevitably lead to conflicting results for

materially indistinguishable ballots, and that can severely undermine public

confidence in electoral recounts.

       Plaintiffs also assert without any evidence or support that the written-words

requirement may have a disparate impact on “language minorities and those with

limited literacy,” Plaintiffs’ Motion 21, but they offer no evidence whatever in

support of this factual claim. In any event, it is well settled that mere disparate

impact does not suffice to establish an Equal Protection violation. Washington v.

Davis, 426 U.S. 229, 239 (1976). Indeed, if Plaintiffs’ argument were accepted, it

would invalidate the well-established method of requiring write-in candidates to be

written in, since presumably that requirement likewise has a disparate impact on

those with limited literacy.

II.    THE CHALLENGED REGULATIONS DO NOT IMPERMISSIBLY
       BURDEN THE RIGHT TO VOTE.

       Challenges to state election laws are governed by a “flexible standard”

whereby the court weighs “the character and magnitude of the asserted injury to

the rights protected by the First and Fourteenth Amendments that the plaintiff

seeks to vindicate” against “the precise interests put forward by the State as

justifications for the burden imposed by its rule,” taking into consideration “the

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extent to which those interests make it necessary to burden the plaintiff's rights.”

Burdick v. Takushi, 504 U.S. 428, 434 (1992) (quoting Anderson v. Celebrezze,

460 U.S. 780, 789 (1983)).

      Importantly, “when a state election law provision imposes only ‘reasonable,

nondiscriminatory restrictions’ upon the First and Fourteenth Amendment rights of

voters, ‘the State’s important regulatory interests are generally sufficient to justify’

the restrictions.” Id. (quoting Anderson, 460 U.S. at 788). Thus, the Supreme Court

has “repeatedly upheld reasonable, politically neutral regulations that have the

effect of channeling expressive activity at the polls.” Id. at 438.

      For the reasons already explained, the two challenged rules are “reasonable,

nondiscriminatory,” and “politically neutral regulations.” Id. at 434, 438. The

regulations are neutral on their face and in practice, they are plainly reasonable

ways to further the State’s constitutionally compelled interest in consistency and

uniformity across 67 counties of the manual recount process. And they impose

only a minimal burden. Voters are not even required to comply with ballot

instructions; they are simply required to cast a clearly identifiable vote in one of

several ways specified in the regulations. Further, we have identified above

numerous “important regulatory interests” served by the regulations, and these

interests are undoubtedly “sufficient to justify the restrictions.” Id. at 428, 434

(quotation marks omitted).



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      Significantly, Plaintiffs do not appear to dispute that if these regulations are

indeed reasonable and nondiscriminatory, they pass muster. Instead, Plaintiffs

argue that the restrictions impose a “severe” burden, and thus must be “narrowly

drawn to advance a state interest of compelling importance.” Common

Cause/Georgia v. Billups, 554 F.3d 1340, 1352 (11th Cir. 2009). This argument

fails for two reasons.

      First, even if Florida had to prove that the Consistency Rule and Clear

Statement Rule are narrowly drawn to advance a state interest of compelling

importance, they undoubtedly are so drawn. The rules are narrowly drawn to

achieve many such compelling interests; perhaps chief among those interests is

compliance with the Equal Protection Clause as interpreted in Bush v. Gore.

Moreover, the regulations are designed to ensure that votes are counted even if

they are not marked consistent with ballot instructions, while nevertheless being

narrowly drawn to secure the electoral integrity concerns discussed above.

      Second, and more importantly, Florida’s reasonable recount standards

simply do not place a “severe” burden on the right to vote necessary to trigger the

“narrowly drawn” standard. Plaintiffs assert that the burden is “severe” based on

speculation that the challenged rules may be underinclusive and result in the

“rejections of the votes” of some qualified voters. Plaintiffs’ Motion 15. Plaintiffs




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even suggest that “even one disenfranchised voter,” id. at 16 (quotation marks

omitted), may be sufficient to constitute a “severe” burden.

      This is not the test, and it cannot be the test, for otherwise essentially every

voter regulation would present a “severe” burden. “Ordinary and widespread

burdens, such as those requiring ‘nominal effort’ of everyone, are not severe.”

Tripp v. Scholz, 872 F.3d 857, 871 (7th Cir. 2017) (quoting Crawford, 553 U.S. at

205 (Scalia, J., concurring)). And here, Plaintiffs are “unable to direct this Court to

any admissible and reliable evidence that quantifies the extent and scope of the

burden imposed by the [Florida regulation].” Common Cause, 554 F.3d at 1354.

Plaintiffs state that the average statewide undervote range during the last three

presidential elections was between 0.26% and 0.68%. Plaintiffs’ Motion 17. This

number on its own would not constitute a “severe” burden, but more importantly,

only a very tiny fraction (if any) of those undervotes will be affected by the

Consistency Rule or the Clear Statement Rule.

      The Burdick test does not countenance Plaintiffs’ myopic focus on a few

voters. Petitioners improperly ask this Court “to perform a unique balancing

analysis that looks specifically at a small number of voters who may experience a

special burden under the statute and weighs their burdens against the State’s broad

interests in protecting election integrity.” Crawford, 553 U.S. at 200. Plaintiffs’

claim must fail because “on the basis of the evidence in the record it is not possible



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to quantify either the magnitude of the burden on this narrow class of voters or the

portion of the burden imposed on them that is fully justified.” Id. See also id. at

205 (Scalia, J., concurring) (“[W]hat petitioners view as the law’s several light and

heavy burdens are no more than the different impacts of the single burden that the

law uniformly imposes on all voters.”).

      The conclusion that Florida’s rules do not impose a severe burden is further

compelled by Wexler v. Anderson, 452 F.3d 1226 (11th Cir. 2006). The plaintiffs

in Wexler raised a constitutional challenge to the fact that voters in counties using

touchscreen voting machines allegedly did not have any meaningful opportunity

for manual review of undervotes, compared to voters in counties using optical scan

ballots. Id. at 1232. The Court held that the possibility that the plaintiffs’ “ballots

will receive a different, and allegedly inferior, type of review in the event of a

manual recount” was not a “severe” regulation but rather a “reasonable,

nondiscriminatory regulation” warranting deferential review. Id. at 1232-33. If the

alleged total denial of a manual recount was not a “severe” burden in Wexler, it

follows a fortiori that a “severe” burden is not presented by Plaintiffs’ objection to

the eminently reasonable and duly enacted method of providing them a recount.1




      1
      Plaintiffs’ proposed injunction also asks this Court to stay the November
18 canvassing deadline, Proposed Injunction ¶ 7, but Plaintiffs provide no
argument about why this extraordinary relief is necessary or appropriate.

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III.    THE REMAINING PRELIMINARY INJUNCTION FACTORS
        WEIGH STRONGLY IN FAVOR OF DENYING PLAINTIFFS’
        ELEVENTH-HOUR REQUEST FOR RELIEF.

        The balance of the harms and the public interest further counsel in favor of

denying Plaintiffs’ motion, for at least four reasons.

        First, discarding Florida’s long-established and facially neutral rules would

transmogrify an objective, predictable manual recount process into a subjective,

standardless system that relies solely on the discretion of election officials to

determine voter intent. Such a system would seriously undermine the integrity of

Florida’s election process, and it would irreparably harm voters’ and the NRSC’s

right to an election conducted according to long-established rules rather than

eleventh hour ad hoc rules designed to liberate local election officials to exercise

precisely the unfettered discretion condemned in Bush.

        Second, a court order enjoining state election law after votes have been cast

and fairly counted would be seriously disruptive to the election process. When

faced with a request to enjoin election procedures immediately before an election,

a court must “weigh, in addition to the harms attendant upon issuance or

nonissuance of an injunction, considerations specific to election cases.” Purcell v.

Gonzalez, 549 U.S. 1, 4 (2006). See also Benisek v. Lamone, 138 S. Ct. 1942, 1945

(2018). Even “seemingly innocent alterations in election rules” can result in

“danger[ous] unanticipated consequences.” Griffin v. Roupas, 385 F.3d 1128, 1132



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(7th Cir. 2004). Thus, it is no surprise that courts overwhelmingly seek to avoid

changing voting laws immediately before an election, much less after an election.

See, e.g., Arizona Sec’y of State’s Office v. Feldman, 137 S. Ct. 446 (2016); North

Carolina v. League of Women Voters of N.C., 135 S. Ct. 6 (2014); Nader v. Keith,

385 F.3d 729, 736 (7th Cir. 2004).

       Third, in addition to any unanticipated consequences, discarding these

critical vote identification rules at this stage would dilute the votes of those who

voted in accordance with Florida law, allow freewheeling canvasser inquiry into

voter intent, facilitate partisan bias, raise practical difficulties in the vote tabulation

process, interfere with state election certification deadlines, disrupt post-election

procedures, and erode public confidence in the integrity and impartiality of the

voter recount process. “[A]n injunction at this time would have a chaotic and

disruptive effect upon the electoral process.” Fishman v. Schaffer, 429 U.S. 1325,

1330 (1976).

       Fourth, Plaintiffs’ proposed injunction would enjoin the application of state

statutes and regulations, and “any time a State is enjoined by a court from

effectuating statutes enacted by representatives of its people, it suffers a form of

irreparable injury.” New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S.

1345, 1351 (1977) (Rehnquist, Circuit Justice).




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                                  CONCLUSION

      This Court should deny Plaintiffs’ emergency motion for a temporary

restraining order and a preliminary injunction and to show cause. If the Court is

nonetheless inclined to grant injunctive relief to the Plaintiffs, we ask the Court to

enter a stay of that relief pending Intervenors’ appeal to the Eleventh Circuit.

                    LOCAL RULE 7.1(F) CERTIFICATION

      The undersigned certifies that this motion contains 8,000 words.



Date: November 15, 2018                     Respectfully submitted,


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* pro hac vice applications
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